        Case 9:14-cr-00027-DLC Document 238 Filed 01/27/15 Page 1 of 3


                                                                           FILED
                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA                           JAN 272015
                             MISSOULA DIVISION                          ~~~s        Oistrid Court
                                                                          ......"".Of Montana
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 UNITED STATES OF AMERICA,                            CR-14-27-M-DLC
                     Plaintiff,                       FINDINGS AND
                                                    RECOMMENDATION
        vs.                                         CONCERNING PLEA
 RICHARD PITTS,

                     Defendant.




      The Defendant, by consent, has appeared before me under Fed. R. Crim. P.

II and has entered a plea of guilty to one count of conspiracy to distribute child

pornography in violation of 18 U.S.C. § 2252A(a)(2), as set forth in the

Superseding Information. The Defendant further agrees·to the forfeiture allegation

set forth in the Superseding Information.

      After examining the Defendant under oath, I have made the following

determinations:

      I. That the Defendant is fully competent and capallie of entering an

informed and voluntary plea to the criminal offense charged against him, and an



FINDINGS AND RECOMMENDATION - Page I
         Case 9:14-cr-00027-DLC Document 238 Filed 01/27/15 Page 2 of 3



informed and voluntary admission to the allegation of forfeiture;

       2. That the Defendant is aware of the nature of the charge against him and

the consequences of pleading guilty to the charge;

       3. That the Defendant understands the allegation of forfeiture and the

consequences of admitting to the allegation;

       4. That the Defendant fully understands his constitutional rights, and the

extent to which he is waiving those rights by pleading guilty to the criminal

offense charged against him, and admitting to the allegation of forfeiture;

       5. That both his plea of guilty to the criminal offense charged against him

and his admission to the allegation of forfeiture are knowingly and voluntarily

entered, and are both supported by independent factual grounds sufficient to prove

each of the essential elements of the criminal offense charged and the legal basis

for the forfeiture.

       The Court further concludes that the Defendant had adequate time to review

the Plea Agreement with counsel, that he fully understands each and every

provision of the agreement and that all of the statements in the Plea Agreement are

true. Therefore, I recommend that the Defendant be adjudged guilty of the charge

set forth in the Superseding Information, and that sentence be imposed. I further

recommend the agreed forfeiture be imposed against Defendant.

FINDINGS AND RECOMMENDATION - Page 2
       Case 9:14-cr-00027-DLC Document 238 Filed 01/27/15 Page 3 of 3




     This report is forwarded with the recommendation that the Court defer

a decision re&ardin& acceptance until the Court has reviewed the Plea

A&reement and the presentence report.

           DATED this 27th day of January, 2015.




                                   J r miah C. Lynch
                                     nited States Magistrate Judge




FINDINGS AND RECOMMENDATION - Page 3
